Case 1:05-cv-01650-REB-CBS Document 1 Filed 08/25/05 USDC Colorado Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 Civil Action No: ________________

 U.S. FAX LAW CENTER, INC.,

 Plaintiff,

 v.

 U.S. BANK NATIONAL ASSOCIATION,
 JANE DOES #1-100, and JOHN DOES #1-100,

 Defendants.


                            NOTICE OF REMOVAL OF ACTION


 TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF

 COLORADO:

         PLEASE TAKE NOTICE that Defendant U.S. Bank National Association (“U.S. Bank”),

 pursuant to 28 U.S.C. §§ 1332, and 1441, hereby removes to the United States District Court for

 the District of Colorado the state action described below.

         Removal, based on diversity jurisdiction, is proper on the following grounds:

         1.     A civil action was filed in the District Court, City and County of Denver, State of

 Colorado entitled: U.S. Fax Law Center, Inc., Plaintiff v. U.S. Bank National Association,

 Defendant, Case No. 2005-cv-6067 (“state court action”). Copies of the Summons and

 Complaint and all other documents filed in the state court action are attached hereto as Exhibit 1

 through Exhibit 4 inclusively. To U.S. Bank’s knowledge, no other pleadings have been filed

 and no further proceedings have been held or scheduled in the state court action.

         2.     U.S. Bank accepted service of the Summons and Complaint in the state court

 action on August 5, 2005. See Exhibit 3.
Case 1:05-cv-01650-REB-CBS Document 1 Filed 08/25/05 USDC Colorado Page 2 of 4




         3.         The state court action is an action over which this Court has original jurisdiction

 under 28 U.S.C. § 1332 and it is one which may be removed to this Court pursuant to 28 U.S.C.

 § 1441, in that the state court action is an action between citizens of different states and the

 matter in controversy exceeds the sum of $75,000, exclusive of interest and costs. See Kopff v.

 World Research Group, L.L.C., 298 F.Supp.2d 50 (D.C.D.C. 2003), (diversity jurisdiction

 permissible basis for removal of TCPA claims); see also U.S. Fax Loan Center, Inc. v. iHire,

 Inc., U.S. District Court, District of Colorado, 04-cv-0344-LTB-CBS; compare Consumer

 Crusade, Inc. v. Fairon and Associates, Inc., 2005 WL 1793497 (D.Colo. 2005) (holding TCPA

 claims not removable on diversity grounds).

         4.         As set forth in the Complaint, Plaintiff is a citizen of Colorado.

         5.         Defendant U.S. Bank is a national banking association with a principal place of

 business in the State of Minnesota. Therefore, U.S. Bank is not a citizen of Colorado for the

 purposes of removal. See 28 U.S.C. §1348; see also Firstar Bank, N.A. v. Faul, 253 F.3d 982

 (7th Cir. 2001).

         6.         As specifically set forth in the Complaint, Plaintiff is seeking damages in excess

 of $75,000 for penalties and treble damages for alleged violations of the Telephone Consumer

 Protection Act and the Colorado Consumer Protection Act. In addition, Plaintiff’s Complaint

 contains a claim for attorneys’ fees.

         7.         U.S. Bank is the only non-fictitious defendant in this action, and as such, all

 defendants have joined in, or consented to, this Notice of Removal. See 28 U.S.C. § 1441(a).

         8.         This United States District Court’s territorial jurisdiction embraces the place

 where the state court action is pending: the City and County of Denver, State of Colorado.

         9.         As required by 28 U.S.C. § 1446(b), this Notice of Removal is timely filed in that
Case 1:05-cv-01650-REB-CBS Document 1 Filed 08/25/05 USDC Colorado Page 3 of 4




 it is filed with this Court within thirty (30) days after U.S. Bank accepted service of the

 Summons and Complaint in the state court action.

          10.    Written notice of the filing of this Notice of Removal has been provided as

 required by law.

          WHEREFORE, U.S. Bank respectfully requests that the state court action now pending

 against it in the District Court, City and County of Denver, State of Colorado be removed to this

 Court.

          Respectfully submitted this 25th day of August 2005.


                                                    s/ R. Stephen Hall
                                                   Tucker K. Trautman
                                                   R. Stephen Hall
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                                                   Attorneys for Defendant
                                                   U.S. Bank National Association
Case 1:05-cv-01650-REB-CBS Document 1 Filed 08/25/05 USDC Colorado Page 4 of 4




                                  CERTIFICATE OF SERVICE

          The undersigned herby certifies that on August 25, 2005, a true and correct copy of the

 foregoing NOTICE OF REMOVAL OF ACTION was served via Facsimile and/or U.S. Mail,

 postage-paid, properly addressed to the following:

  Andrew L. Quiat, Esq.
  The Law Office of Andrew L. Quiat, P.C.
  8200 South Quebec Street
  Suite A-3304
  Centennial, Colorado 80112
  Clerk of the District Court
  City and County of Denver
  1437 Bannock Street, Room 256
  Denver, Colorado 80202

                                                      /s/ Angela Tribolet




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